  Case 19-22116       Doc 49   Filed 02/25/20 Entered 02/26/20 10:10:46              Desc Main
                                 Document      Page 1 of 1
                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                       )               BK No.:      19-22116
                                             )
CHRISTOPHER A. FREEMAN,                      )               Chapter: 7
                                             )
                                                             Honorable Jack Schmetterer
                                             )
                                             )
               Debtor(s)                     )
ORDER GRANTING TRUSTEE'S ROUTINE MOTION TO EXTEND TIME TO OBJECT TO
                        DEBTOR'S DISCHARGE

        THIS MATTER COMING TO BE HEARD upon the Trustee's Routine Motion to Extend Time
to Object to Debtor's Discharge and Dischargeability of Debts (the "Motion"); due and proper notice of
the Motion having been given; and the Court having jurisdiction over this core proceeding and being
fully advised in the premises;

  IT IS HEREBY ORDERED that:

  1. The Motion is granted.

  2. The Trustee or any other party-in-interest shall have until May 28, 2020 to file a complaint
objecting to the Debtor's discharge under 11 U.S.C. §727(a) and to the dischargeability of any of the
Debtor's debts under 11 U.S.C. §523.




                                                          Enter:


                                                                   Honorable Jack B. Schmetterer
Dated: February 25, 2020                                           United States Bankruptcy Judge

 Prepared by:
 Catherine Steege (6183529)
 JENNER & BLOCK LLP
 353 N. Clark Street
 Chicago, Illinois 60654-3456
 PH: (312) 222-9350
 FAX: (312) 527-0484
